 OAO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                      MIDDLE                                       District of                             TENNESSEE
        UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                           V.                                             (For Revocation of Probation or Supervised Release)


             LORENZO McMILLION                                            Case Number:                     2:04-00017
                                                                          USM Number:                      16758-075
                                                                          Jennifer Thompson
                                                                          Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s) One (1)                                       of the term of supervision.

G was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                              Violation Ended

        1                    Defendant shall not commit another federal, state, or local crime                   September 27, 2012




      The defendant is sentenced as provided in pages 1 and 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
G The defendant has not violated condition(s)                                       and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.               0812                 April 26, 2013
                                                                                 Date of Imposition of Judgment

Defendant’s Year of Birth:             1971
                                                                                 Signature of Judge

City and State of Defendant’s Residence:                                         Todd J. Campbell, United States District Judge
                                                                                 Name and Title of Judge
        Whites Creek, TN
                                                                                 April 26, 2013
                                                                                 Date




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                Sheet 2 – Imprisonment


DEFENDANT:               LORENZO McMILLION                                                  Judgment — Page 2 of 2
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                                                     IMPRISONMENT

         The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: Twenty-four (24) months
        Supervised Release is imposed, subject to the previously imposed conditions, and shall terminate on September 2,
        2015.

          X     The Court makes the following recommendations to the Bureau of Prisons:
                1. Incarceration apart from Co-Defendants Charles Hassell and Travon Gardner due to threats.
                2. Service of his sentence near Nashville, Tennessee, to be near family, if consistent with his security
                classification.


                The Defendant is remanded to the custody of the United States Marshal.

                The Defendant shall surrender to the United States Marshal for this District:
                         at                         p.m. on
                ____     as notified by the United States Marshal.


          X     The Defendant shall surrender for service of sentence at the institution designated by the Bureau of
                Prisons.
                  X      before 2 p.m. on June 3, 2013
                ____     as notified by the United States Marshal.
                ____     as notified by the Probation or Pretrial Services Office.

                                                          RETURN
        I have executed this Judgment as follows:

_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
        Defendant delivered on ______________________________ to _______________________________________
a ___________________________________________ with a certified copy of this Judgment.

                                                                     _____________________________________________
                                                                     United States Marshal




                                                                     By: __________________________________________
                                                                         Deputy United States Marshal
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